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    9                         UNITED STATES DISTRICT COURT

   10                        CENTRAL DISTRICT OF CALIFORNIA
      CORNELIA MARTINEZ, an                  )   CASE NO.: 2:17-cv-03581-SVW-MRW
   11 individual; ANA VELASQUEZ, an          )
      individual; HILDA DERAS, an            )   ORDER RE: DISMISSAL WITH
   12 individual; CARMEN CASTRO, an          )   PREJUDICE
      individual; GLORIA MORALES, an         )
   13 individual, and SAJE, a 501(c)(3)      )
      non-profit organization,               )   Judge:    Hon. Stephen V. Wilson
   14                                        )
                                  Plaintiffs,)   Courtroom: 10A
   15                                        )
                    v.                       )
   16                                        )
      OPTIMUS PROPERTIES, LLC, a             )
   17 California limited liability company;  )
      OPTIMUS PROPERTY                       )
   18 MANAGEMENT, LLC, a California          )
      limited liability company;             )
   19 ROXBURY VENTURES, LLC, a               )
      California limited liability company;  )
   20 MAGNOLIA AVENUE                        )
      PROPERTIES, LLC, a California          )
   21 limited liability company; and         )
      JEROME MICKELSON, an                   )
   22 individual,                            )
                                             )
   23                            Defendants. )
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                       [PROPOSED] ORDER RE: DISMISSAL WITH PREJUDICE
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    1 PEDRO RAMOS, an individual; and           )   CASE NO.: 2:17-cv-03582-SVW-MRW
      NICOLAS GREGORIO, an                      )
    2 individual;                               )
                                                )
    3                            Plaintiffs,    )
                                                )
    4               v.                          )
                                                )
    5 OPTIMUS PROPERTIES, LLC, a                )
      California limited liability company;     )
    6 OPTIMUS PROPERTY                          )
      MANAGEMENT, LLC, a California             )
    7 limited liability company;                )
      ROXBURY VENTURES, LLC, a                  )
    8 California limited liability company;     )
      SOUTH NORMANDIE                           )
    9 PROPERTIES, LLC, a California             )
      limited liability company; and            )
   10 JEROME MICKELSON, an                      )
      individual,                               )
   11                                           )
                                  Defendants.   )
   12                                           )
      CARLOS ESCAMILLA, an                      )   CASE NO.: 2:17-cv-03583-SVW-MRW
   13 individual; POLONIA                       )
      HERNANDEZ, an individual; and             )
   14 SAJE, a 501(c)(3) non-profit              )
      organization,                             )
   15                                           )
                                  Plaintiffs,   )
   16               v.                          )
                                                )
   17 OPTIMUS PROPERTIES, LLC, a                )
      California limited liability company;     )
   18 OPTIMUS PROPERTY                          )
      MANAGEMENT, LLC, a California             )
   19 limited liability company;                )
      ROXBURY VENTURES, LLC, a                  )
   20 California limited liability company;     )
      SOUTH KENMORE PROPERTIES,                 )
   21 LLC, a California limited liability       )
      company; and JEROME                       )
   22 MICKELSON, an individual,                 )
                                                )
   23                            Defendants.    )
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                         [PROPOSED] ORDER RE: DISMISSAL WITH PREJUDICE
Case 2:17-cv-03581-SVW-MRW Document 286 Filed 10/18/18 Page 3 of 5 Page ID #:12016



    1 DEMETRIUS ALLEN, an                     )   CASE NO.: 2:17-cv-03584-SVW-MRW
      individual; and MICHAEL                 )
    2 PRUDHOMME, an individual,               )
                                              )
    3                             Plaintiffs, )
                    v.                        )
    4                                         )
      OPTIMUS PROPERTIES, LLC, a              )
    5 California limited liability company; )
      OPTIMUS PROPERTY                        )
    6 MANAGEMENT, LLC, a California )
      limited liability company;              )
    7 ROXBURY VENTURES, LLC, a                )
      California limited liability company; )
    8 NORMANDIE LINDEN, LLC, a                )
      California limited liability company; )
    9 and JEROME MICKELSON, an                )
      individual,                             )
   10                                         )
                                  Defendants. )
   11                                         )
                                              )
   12                                         )
      ARTHUR RIVERA, an individual;           )   CASE NO.: 2:17-cv-03585-SVW-MRW
   13 JAMARCUS REYNOLDS, an                   )
      individual; and STEP UP ON              )
   14 SECOND STREET, INC., a                  )
      501(c)(3) non-profit organization,      )
   15                                         )
                                  Plaintiffs, )
   16               v.                        )
                                              )
   17 OPTIMUS PROPERTIES, LLC, a              )
      California limited liability company; )
   18 OPTIMUS PROPERTY                        )
      MANAGEMENT, LLC, a California )
   19 limited liability company;              )
      ROXBURY VENTURES, LLC, a                )
   20 California limited liability company; )
      MARIPOSA/8TH STREET                     )
   21 PROPERTIES, LLC, a California           )
      limited liability company; and          )
   22 JEROME MICKELSON, an                    )
      individual,                             )
   23                                         )
                                  Defendants. )
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                      [PROPOSED] ORDER RE: DISMISSAL WITH PREJUDICE
Case 2:17-cv-03581-SVW-MRW Document 286 Filed 10/18/18 Page 4 of 5 Page ID #:12017



    1 PEDRO GUERRERO, an individual; )            CASE NO.: 2:17-cv-03586-SVW-MRW
      and SAJE, a 501(c)(3) non-profit        )
    2 organization,                           )
                                              )
    3                             Plaintiffs, )
                                              )
    4               v.                        )
                                              )
    5 OPTIMUS PROPERTIES, LLC, a              )
      California limited liability company; )
    6 OPTIMUS PROPERTY                        )
      MANAGEMENT, LLC, a California )
    7 limited liability company;              )
      ROXBURY VENTURES, LLC, a                )
    8 California limited liability company; )
      MKM WESTWOOD, LLC, a                    )
    9 California limited liability company; )
      and JEROME MICKELSON, an                )
   10 individual,                             )
                                              )
   11                             Defendants. )
                                              )
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                      [PROPOSED] ORDER RE: DISMISSAL WITH PREJUDICE
Case 2:17-cv-03581-SVW-MRW Document 286 Filed 10/18/18 Page 5 of 5 Page ID #:12018



    1        After full consideration of the parties’ Joint Stipulation re: Dismissal With
    2 Prejudice with the Court to Retain Jurisdiction to Enforce the Settlement Agreement,
    3 this Court hereby ORDERS the dismissal with prejudice of Defendants Optimus
    4 Properties, LLC; Optimus Property Management, LLC; Roxbury Ventures, LLC;
    5 Magnolia Avenue Properties, LLC; South Normandie Properties, LLC; South
    6 Kenmore Properties, LLC; Normandie Linden, LLC; Mariposa/8th Street Properties,
    7 LLC; MKM Westwood, LLC; and Jerome Mickelson from Martinez, et al. v.
    8 Optimus Properties, LLC, et al., Case No. 2:17-cv-03581 (1423 S. Magnolia);
    9 Ramos, et al. v. Optimus Properties, LLC, et al., Case No. 2:17-cv-03582 (756 S.
   10 Normandie); Escamilla, et al. v. Optimus Properties, LLC, et al., Case No. 2:17-cv-
   11 03583 (250 S. Kenmore); Allen, et al. v. Optimus Properties, LLC, et al., Case No.
   12 2:17-cv-03584 (837 S. Normandie); Rivera, et al. v. Optimus Properties, LLC, et al.,
   13 Case No. 2:17-cv-03585 (238 S. Mariposa); and Guerrero, et al. v. Optimus
   14 Properties, LLC, et al., Case No. 2:17-cv-03586 (401 S. Kenmore). The Court shall
   15 retain jurisdiction for the duration of the settlement term for the purpose of enforcing
   16 and modifying the parties’ settlement agreement, which will be overseen by the
   17 Honorable Suzanne H. Segal.
   18        IT IS SO ORDERED.
   19
   20 DATED:      October 18, 2018

   21                                                        Stephen V. Wilson
                                                      UNITED STATES DISTRICT JUDGE
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                       JOINT STIPULATION RE: DISMISSAL WITH PREJUDICE
